                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION

PSARA ENERGY, LTD.        §
                          §
v.                        §
                          §               C.A. NO. 1:18-CV-00178
SPACE SHIPPING, LTD.;     §
GEDEN HOLDINGS LTD.;      §               ADMIRALTY
ADVANTAGE ARROW           §
SHIPPING, LLC; GENEL      §
DENIZCILIK NAKLIYATI A.S. §
A/K/A GEDEN LINES;        §
ADVANTAGE TANKERS, LLC;   §
ADVANTAGE HOLDINGS, LLC; §
FORWARD HOLDINGS, LLC;    §
MEHMET EMIN               §
KARAMEHMET; GULSUN        §
NAZLI KARAMEHMET-         §
WILLIAMS; and TUGRUL      §
TOKGÖZ                    §

 ADVANTAGE DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE
 TO NOTICE OF FAILURE TO AGREE ON SUBSTITUTE SECURITY

        Defendants Advantage Arrow Shipping, LLC, Advantage Tankers,

LLC, Advantage Holdings, LLC, and Forward Holdings, LLC (collectively, the

“Advantage Defendants”), making their appearance specially and not

generally and pursuant to Federal Rule of Civil Procedure Supplemental

Rule for Admiralty or Maritime Claims E(8), and expressly reserving all

defenses, particularly as to jurisdiction, subject matter jurisdiction, and

venue, file this Reply to Plaintiff’s Response to Defendants’ Notice of Failure

to Agree on Substitute Security.


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          The Advantage Defendants negotiated with Plaintiff in good faith and

made an offer to provide security in a quantum that was supported by

citation to evidence, and even provided to Plaintiff the calculations upon

which the offer was predicated. See Email correspondence dated May 1, 2018,

attached as Exhibit 1. When Plaintiff countered with an opaque and

arbitrary figure unsupported by any calculation, reasoning, or credible

evidence1, it became apparent that the Parties would not be able to reach

agreement. Because of the severe financial stress being imposed upon the

Advantage Defendants through the detention of the ADVANTAGE ARROW,

simply waiting until May 4 to advise the Court of that fact would have been

worse than a futility. Not only is the vessel not earning hire while under

attachment, she is at risk of losing the long-term time charter she is

currently under, which would result in a grave financial burden for her

owner. Further, the vessel continues to incur fees for dockage while in

custody. To date, those fees total almost $100,000 and are increasing daily.

See Port of Port Arthur invoice, attached as Exhibit 2. Although the

Advantage Defendants contend these fees are for the Plaintiff’s account (and

seek a ruling from the Court in due course on this issue), Plaintiff has



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    None of the shortcomings with the Cass Technava report highlighted at the hearing (e.g., absence of
    CV’s/qualifications of signatories or company resume, and a figure of $18 million that endorsed the pleaded
    figure, rather than the other way round, but which was wholly at odds with the C.W. Kellock figures for which
    full resumes were provided, and the absence of any scrap value) were addressed in the Plaintiff’s email.


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advised it has no intention of paying these costs of custody, which have

accrued as a direct result of Plaintiff’s attachment.

        The Advantage Defendants filed their Notice (Doc. 14) with no

argument or additional evidence included, because the Parties had

adequately briefed and argued the issue to the Court. Plaintiff having

belatedly chosen to submit new arguments and assertions to the Court in

their Response (Doc. 15), the Advantage Defendants unfortunately feel

compelled to address those new arguments and assertions. The Advantage

Defendants respectfully submit that Plaintiff’s shifting story cripples its

credibility on the law and on the facts.

        Plaintiff asserted in writing and orally to the Court that under English

law, its claim for the repaired value of the CT STEALTH could not be subject

to a set-off for the as-is value of the vessel. Although the Advantage

Defendants cited the Court to English law to the contrary, Plaintiff insisted

its position was correct, because an experienced and ethical London barrister

had prepared the claim in arbitration. Plaintiff now admits its prior

representation to this Court was wrong, its English counsel was incorrect,

and its claim in arbitration is overstated.

        Having admitted that a set-off for the as-is value of the vessel must be

made, Plaintiff has not provided any evidence of that as-is value, aside from

an unsupported assertion by its London counsel (who presumably was


PD.23677896.1
involved in the mis-statement of English law that was previously presented

to this Court as fact but who is now—apparently—being presented to the

Court as an improbable expert in ship valuation).

        Further, Plaintiff’s assertion of the repaired value of the vessel,

unsupported by any expert of proven ship valuation experience (let alone one

of C.W. Kellock’s vouched expertise), remains inadequate support for

Plaintiff’s claim for security. With no indication of the experience and

expertise of Plaintiff’s alleged experts, that evidence cannot come close to

satisfying the standards of Kumho Tire Co. v. Carmichael, 526 U.S. 137

(1999) and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). As

such, Plaintiff’s only evidence of the repaired value of the vessel is really no

evidence at all. The Advantage Defendants respectfully submit that if

Plaintiff thought that the qualifications of those who prepared the valuation

could withstand scrutiny, Plaintiff would have presented those qualifications

to the Court before now.

        The Advantage Defendants also find it troubling that Plaintiff made its

claim for the repaired value of the vessel in the London arbitration in March,

yet did not obtain an actual valuation until the end of April, after the

Advantage Defendants had filed their motion to vacate. The chronology of

events strongly suggests Plaintiff pleaded an inflated value for the vessel,




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and then went and found someone who would give them a piece of paper to

support that inflated claim.

         Surprising also is Plaintiff’s increase in its demand for security for

attorneys’ fees. On April 20, 2018, Plaintiff requested security for $400,000 in

attorneys’ fees. The Advantage Defendants believed that portion of Plaintiff’s

claim to be similarly overstated. But on May 2, faced with the likelihood that

the required quantum of security is going to be reduced, Plaintiff—without

explanation or reason—has increased that claim to $1,000,000. The

Advantage Defendants respectfully submit that it is obvious what Plaintiff is

up to.

         The Advantage Defendants rest on the evidence regarding the proper

quantum of security that they have already provided to the Court, and pray

that the Court at its earliest convenience will issue an order setting the

amount of substitute security necessary to cover “the present amount of

[P]laintiff’s claim, fairly stated.” See Doc. 15 at 3.




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                                       Respectfully submitted,

                                       /s/ Marc G. Matthews
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                                     ADVANTAGE TANKERS, LLC;
                                     ADVANTAGE HOLDINGS, LLC; AND
                                     FORWARD HOLDINGS, LLC

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                         CERTIFICATE OF SERVICE
       I certify that a copy of the foregoing was electronically filed with the
Clerk, with a copy served electronically by the Clerk or by the undersigned on
this the 2nd day of May, 2018 upon all counsel of record.


                                     /s/ Marc G. Matthews
                                     Marc G. Matthews




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